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     8
                              UNITED STATES DISTRICT COURT
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                            SOUTHERN DISTRICT OF CALIFORNIA
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         Jose Chavez; Andrew Morris; PWGG,                 Case No.: 19-cv-01226-L-AHG                      Deleted: Matthew Jones; Thomas Furrh; Kyle Yamamoto;
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         L.P. (D.B.A. Poway Weapons And Gear
    12   and PWG Range); North County                      Hon. Judge M. James Lorenz and
         Shooting Center, Inc.; Firearms Policy            Magistrate Judge Allison H. Goddard              Deleted: ; Beebe Family Arms And Munitions LLC
    13                                                                                                      (D.B.A. BFAM And Beebe Family Arms And Munitions)
         Coalition, Inc.; Firearms Policy
    14   Foundation; The California Gun Rights
         Foundation; and Second Amendment                  THIRD AMENDED COMPLAINT
    15
         Foundation,                                       FOR DECLARATORY AND
    16                                   Plaintiffs,       INJUNCTIVE RELIEF
         v.
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    18   Rob Bonta, in his official
         capacity as Attorney General of the State
    19
         of California; Allison Mendoza, in her
    20   official capacity as Acting Director of
         the Department of Justice Bureau of
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         Firearms; and DOES 1-20,
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                                        Defendants
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                                            THIRD AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF



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     1                                     INTRODUCTION
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               Plaintiffs, through their counsel, file this Third Amended Complaint for
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     4   Declaratory and Injunctive Relief (Third Amended Complaint) against the named

     5   Defendants in their official capacities as state officials responsible under California law
     6
         for administering and enforcing state laws and regulations governing the purchase, sale,
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     8   transfer, possession, use of, and access to firearms.

     9         Specifically, Plaintiffs respectfully request that this Court: (i) declare that
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         California Penal Code section 27510(a)-(b) and Defendants’ policies and practices of
    11
    12   enforcing that law, which prohibits adults between the ages of 18 and 20 from acquiring

    13   or purchasing any firearm (hereinafter, the “California Age-Based Gun Ban”), is an
    14
         unconstitutional infringement of Plaintiffs’ constitutional rights under the Second and
    15
    16   Fourteenth Amendments of the United States Constitution; and (ii) permanently enjoin

    17   Defendants from enforcing Penal Code section 27510(a)-(b), and thereby allow
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         Plaintiffs, and others similarly situated, to acquire, purchase, use, sell, or transfer
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    20   firearms to defend themselves, their families, and their homes and for all other lawful
    21   purposes. In support of the Second Amended Complaint, Plaintiffs hereby allege as
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         follows:
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    24                              JURISDICTION AND VENUE
    25         1.     This Court has subject-matter jurisdiction over Plaintiffs’ claims in this
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         action under 28 U.S.C. § 1331, because the action arises under the Constitution and
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    28   laws of the United States; and, thus, raises federal questions. The Court also has
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                                              THIRD AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF


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     1   jurisdiction under 28 U.S.C. § 1343 and 42 U.S.C. § 1983, because this action seeks to
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         redress the deprivation, under color of the laws and statutes of the State of California
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     4   and political subdivisions thereof, of rights, privileges, and immunities secured by the

     5   United States Constitution and laws.
     6
               2.     Plaintiffs’ claims for declaratory and injunctive relief are authorized under          Deleted: <#>Plaintiff Matthew Jones, an individual, is a 20-
     7                                                                                                       year-old resident of Santee, California. Mr. Jones does not
                                                                                                             have any criminal history, nor is he a member of the armed
     8   28 U.S.C. §§ 2201 and 2202, and 42 U.S.C. § 1983; and their claim for attorneys’ fees               services or law enforcement. Mr. Jones does not have a
                                                                                                             California hunter’s license issued by the California
     9                                                                                                       Department of Fish and Wildlife. He has no interest in
         is authorized under 42 U.S.C. §1988.                                                                obtaining a firearm for hunting purposes. Mr. Jones does not
                                                                                                             currently own any firearm but wishes to purchase one for
    10                                                                                                       self-defense and other lawful purposes. Except for the
               3.     Venue is proper in this Court under 28 U.S.C. § 1391(b)(1) and (b)(2).                 California law (Penal Code § 27510) banning his right to
    11                                                                                                       acquire or purchase any firearm due solely to his age, and his
                                                                                                             reasonable fear of criminal prosecution for violating that law,
    12                                          PARTIES                                                      Mr. Jones would immediately purchase, acquire, and/or
                                                                                                             possess a firearm within California for self-defense and other
                                                                                                             lawful purposes. Further, Mr. Jones is currently eligible
    13         A.     Plaintiffs – Individuals and Entities                                                  under the laws of the United States and of the State of
                                                                                                             California to purchase, acquire, and receive firearms.¶
    14                                                                                                       Plaintiff Thomas Furrh, an individual, is a 20-year-old
               4.     Plaintiff Jose Lupe Chavez, an individual, is a 20-year-old resident of                resident of Vista, California. Mr. Furrh does not have any
    15                                                                                                       criminal history, nor is he a member of the armed services or
                                                                                                             law enforcement. Mr. Furrh does not have a California
    16   Tracy, California who currently lives in San Diego while he attends the University of               hunter’s license issued by the California Department of Fish
                                                                                                             and Wildlife. He has no interest in obtaining a firearm for
                                                                                                             hunting purposes. Mr. Furrh does not currently own any
    17   California, San Diego. Mr. Chavez does not have any criminal history, nor is he a                   firearm, but wishes to purchase one for self-defense and
                                                                                                             other lawful purposes. Except for the California law (Penal
    18                                                                                                       Code § 27510) banning his right to acquire or purchase a
                                                                                                             firearm due solely to his age, and his reasonable fear of
         member of the armed services or law enforcement. Mr. Chavez does not have a                         criminal prosecution for violating that law, Mr. Furrh would
    19                                                                                                       immediately purchase, acquire, and/or possess a firearm
                                                                                                             within California for self-defense and other lawful purposes.
    20   California hunter’s license issued by the California Department of Fish and Wildlife.               Further, Mr. Furrh is currently eligible under the laws of the
                                                                                                             United States and of the State of California to purchase,
    21   He has no interest in obtaining a firearm for hunting purposes. Mr. Chavez does not
                                                                                                             acquire, and receive firearms.¶
                                                                                                             Plaintiff, Kyle Yamamoto, an individual, is a 19-year-old
                                                                                                             resident of Hacienda Heights, California. Mr. Yamamoto
    22                                                                                                       does not have any criminal history, nor is he a member of the
         currently own any firearms but wishes to purchase one, such as a shotgun or rifle                   armed services or law enforcement. Mr. Yamamoto does not
    23                                                                                                       have a California hunter’s license issued by the California
                                                                                                             Department of Fish and Wildlife. He has no interest in
    24   (including a centerfire semiautomatic rifle) for self-defense and other lawful purposes.            obtaining a firearm for hunting purposes. Mr. Yamamoto
                                                                                                             does not currently own any firearm, but wishes to purchase
                                                                                                             one for self-defense and other lawful purposes. Except for
    25   Except for the California law (Penal Code § 27510) banning his right to acquire or                  the California law (Penal Code § 27510) banning his right to
                                                                                                             acquire or purchase a firearm due solely to his age, and his
    26                                                                                                       reasonable fear of criminal prosecution for violating that law,
         purchase any firearm due solely to his age, and his reasonable fear of criminal                     Mr. Yamamoto would immediately purchase, acquire, and/or
    27                                                                                                       possess a firearm within California for self-defense and other
                                                                                                             lawful purposes. Further, Mr. Yamamoto is currently eligible
    28   prosecution for violating that law, Mr. Chavez would immediately purchase, acquire,                 under the laws of the United States and of the State of
                                                                                                             California to purchase, acquire, and receive firearms.¶
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                                             THIRD AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF


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     1   and/or possess both various forms of long guns within California for self-defense and
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         other lawful purposes. Further, Mr. Chavez is currently eligible under the laws of the
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     4   United States and of the State of California to purchase, acquire, and receive firearms.

     5         5.     Plaintiff Andrew Morris, an individual, is a 19-year-old resident of
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         Poway, California. Mr. Morris does not have any criminal history, nor is he a member
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     8   of the armed services or law enforcement. Mr. Morris does not have a California

     9   hunter’s license issued by the California Department of Fish and Wildlife. He has no
    10
         interest in obtaining a firearm for hunting purposes. Mr. Morris does not currently own
    11
    12   any firearms but wishes to purchase one, such as a shotgun or rifle (including a

    13   centerfire semiautomatic rifle) for self-defense and other lawful purposes. Except for
    14
         the California law (Penal Code § 27510) banning his right to acquire or purchase any
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    16   firearm due solely to his age, and his reasonable fear of criminal prosecution for

    17   violating that law, Mr. Morris would immediately purchase, acquire, and/or possess
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         both various forms of long guns within California for self-defense and other lawful
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    20   purposes. Further, Mr. Morris is currently eligible under the laws of the United States
    21   and of the State of California to purchase, acquire, and receive firearms.
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               6.     Plaintiffs Chavez and Morris are all members of the Organizational
    23
    24   Plaintiffs named in this complaint. Specifically, they are all members of Firearms
    25   Policy Coalition, Firearms Policy Foundation, California Gun Rights Foundation, and
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         the Second Amendment Foundation.
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                                            THIRD AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF


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     1         7.     Plaintiff PWGG, L.P. is both a California limited partnership doing
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         business as Poway Weapons & Gear and PWG Range (PWG), and a federal and state
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     4   licensed firearms retailer and range in Poway, California. PWG is the largest indoor

     5   shooting range in California, serving approximately 200,000 visitors per year and
     6
         supporting almost 4,000 members. It is also the largest firearm, accessory, and apparel
     7
     8   retail store in San Diego, California. As part of its range activities, PWG provides

     9   firearms for rental use in its three indoor shooting ranges. PWG also provides firearms
    10
         training to over 8,000 students per year. Since opening in 2014, PWG has helped
    11
    12   educate over 50,000 students in firearm use and safety through various courses

    13   involving the handling and use of firearms. Due to Defendants’ enforcement of the
    14
         prohibition of selling, supplying, delivering, or giving possession or control of a
    15
    16   firearm to any person under 21 years of age, PWG has been directly and adversely

    17   harmed. For example, PWG has been forced to stop, and has stopped, otherwise lawful
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         sales to adults under the age of 21. It has been forced to stop, and has halted, all firearm
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    20   rentals to adults under the age of 21. Further, PWG has been forced to prohibit, and has
    21   prohibited, adults between the ages of 18-to-20 from attending various firearms classes
    22
         hosted by PWG. As a direct result, PWG has sustained financial harm, injury, and
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    24   losses from the sale and rentals of otherwise lawful goods and services. PWG brings
    25   this action on behalf of itself, its members, and other similarly situated licensed
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         firearms retailers and shooting ranges in California.
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                                              THIRD AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF


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     1         8.     Plaintiff North County Shooting Center Inc. (NCSC) is both an S-Corp
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         and a federal and state licensed firearms retailer and range in San Marcos, California
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     4   owned by Darin Prince and Stanley Tuma. NCSC is a full-service shooting range and

     5   gun store. NCSC sells firearms, ammunition, and other firearms accessories as part of
     6
         its retail store. As part of its range activities, NCSC provides firearms for rental use in
     7
     8   its indoor shooting range. NCSC also provides various firearms training courses which

     9   take place on NCSC premises. Due to Defendants’ enforcement of the prohibition of
    10
         selling, supplying, delivering, or giving possession or control of a firearm to any person
    11
    12   under 21 years of age, NCSC has been directly and adversely harmed. For example,

    13   NCSC has been forced to stop, and has stopped, otherwise lawful sales to adults under
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         the age of 21. It has been forced to stop, and has halted, all firearm rentals to adults
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    16   under the age of 21. Further, NCSC has been forced to prohibit, and has prohibited,

    17   adults between the ages of 18-to-20 from attending various firearms classes hosted by
    18
         NCSC. As a direct result, NCSC has sustained financial injury, harm, and losses from
    19
                                                                                                              Deleted: <#>Plaintiff Beebe Family Arms and Munitions,
    20   the sale and rentals of otherwise lawful goods and services. NCSC brings this action                 LLC, d.b.a. BFAM and Beebe Family Arms and Munitions
                                                                                                              (Beebe Arms) is a federal and state licensed firearms retailer
    21   on behalf of itself, its members, and other similarly situated licensed firearms retailers
                                                                                                              in Fallbrook, California owned by Matthew Beebe. Due to
                                                                                                              Defendants’ enforcement of the prohibition of selling,
                                                                                                              supplying, delivering, or giving possession or control of a
    22                                                                                                        firearm to any person under 21 years of age, Beebe Arms has
         and shooting ranges in California.                                                                   been directly and adversely harmed. For example, Beebe
    23                                                                                                        Arms has been forced to stop, and has stopped, otherwise
                                                                                                              lawful sales to adults under the age of 21. More specifically,
    24         B.     Institutional Plaintiffs                                                                Beebe Arms was forced to deny Plaintiff Furrh from
                                                                                                              purchasing/acquiring a firearm for self-defense. Further,
                                                                                                              Beebe Arms has been forced to prohibit, and has prohibited,
    25         9.     Plaintiff Firearms Policy Coalition, Inc. (FPC) is a 26 U.S.C. section                  adults between the ages of 18-to-20 from attending various
                                                                                                              firearms classes hosted by Beebe Arms. As a direct result,
    26                                                                                                        Beebe Arms has sustained financial harm, injury, and losses
         501(c)(4) non-profit organization incorporated under the laws of Delaware with its                   from the sale of otherwise lawful goods and services. Beebe
    27                                                                                                        Arms brings this action on behalf of itself, its members, and
                                                                                                              other similarly situated licensed firearms retailers in
    28   principal place of business in Sacramento, California. FPC’s members and supporters                  California.¶
                                                                                                              ¶
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                                              THIRD AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF


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     1   reside both within and outside the State of California, including San Diego County,
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         California. FPC serves its members, supporters, and the public through direct
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     4   legislative advocacy, grassroots advocacy, legal efforts, research, education, outreach,

     5   and other programs. FPC also strongly opposed the state legislation (Senate Bill 1100)
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         that led to enactment of Penal Code section 27510. The purpose of FPC includes
     7
     8   defending the United States Constitution and the people’s rights, privileges, and

     9   immunities deeply rooted in this country’s history and tradition, especially the
    10
         fundamental right to keep and bear arms under the Second Amendment.
    11
    12   FPC represents its members and supporters, who include licensed California firearm

    13   retailers and gun owners, and brings this action on behalf of itself, its members,
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         supporters who possess all the indicia of membership, and similarly situated members
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    16   of the public. FPC’s individual California members have been adversely and directly

    17   harmed and injured by Defendants’ enforcement of the statutory prohibition on the
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         lawful sale of firearms to adults between the ages of 18 and 20. Indeed, Penal Code
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    20   section 27510 has denied, and will continue to deny, millions of responsible,
    21   law-abiding adults under the age of 21 their fundamental, individual right to keep and
    22
         bear arms secured under the Second and Fourteenth Amendments of the
    23
    24   U.S. Constitution. Defendants’ actions and failures alleged herein have also caused
    25   FPC to dedicate resources that would otherwise be available for other purposes to
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         protect the rights and property of its members, supporters, and the general public,
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    28   including by and through this action.
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                                            THIRD AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF


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     1         10.    Plaintiff Firearms Policy Foundation (FPF) is a grass roots 501(c)3
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         non-profit public benefit organization. FPF’s mission is to protect and defend the
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     4   Constitution of the United States and the People’s rights, privileges and immunities

     5   deeply rooted in the Nation’s history and tradition, especially the inalienable,
     6
         fundamental, and individual right to keep and bear arms. FPF informs the public about
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     8   past and current laws, legal challenges and effects of laws on their members and

     9   supporters’ constitutional rights. FPF has taken, and continues to take, legal action to
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         advance the Second Amendment rights of its members and supporters. The Court’s
    11
    12   interpretation of the Second Amendment directly impacts FPF’s organizational

    13   interests, as well as FPF’s members and supporters in California, who enjoy exercising
    14
         their Second Amendment rights. FPF brings this action on behalf of itself, its members,
    15
    16   supporters who possess all the indicia of membership, and similarly situated members

    17   of the public. FPF’s individual California members between the ages of 18 and 20 have
    18
         been adversely and directly harmed and injured by Defendants’ enforcement of the
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    20   statutory prohibition on the lawful sale of firearms to adults between the ages
    21   of 18 and 20. Indeed, Penal Code section 27510 has denied, and will continue to
    22
         deny, millions of responsible, law-abiding adults under the age of 21 their
    23
    24   fundamental, individual right to keep and bear arms secured under the Second and
    25   Fourteenth Amendments of the U.S. Constitution. Defendants’ actions and failures
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         alleged herein have caused FPF to dedicate resources that would otherwise be available
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                                            THIRD AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF


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     1   for other purposes to protect the rights and property of its members, supporters, and the
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         general public, including by and through this action.
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     4         11.    Plaintiff The California Gun Rights Foundation (CGF) (formally, The

     5   Calguns Foundation), is a section 501(c)(3) non-profit organization that serves its
     6
         members, supporters, and the public through educational, cultural, and judicial efforts
     7
     8   to advance Second Amendment and related civil rights. Founded by civil rights

     9   activists in California, CGF has taken part in numerous litigation efforts to defend
    10
         innocent gun owners from criminal prosecution and assisted gun owners with various
    11
    12   firearms-related legal issues. CGF has also filed important supporting amicus briefs in

    13   lawsuits filed in courts across the nation in an effort to protect Second Amendment
    14
         rights, including the landmark U.S. Supreme Court case McDonald v. Chicago. The
    15
    16   Court’s interpretation of the Second Amendment directly impacts CGF’s

    17   organizational interests, as well as CGF’s members and supporters in California, who
    18
         enjoy exercising their Second Amendment rights. CGF brings this action on behalf of
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    20   itself, its members, supporters who possess all the indicia of membership, and similarly
    21   situated members of the public. CGF’s individual California members between the ages
    22
         of 18 and 20 have been adversely and directly harmed and injured by Defendants’
    23
    24   enforcement of the statutory prohibition on the lawful sale of firearms to adults between
    25   the ages of 18 and 20. Indeed, Penal Code section 27510 has denied, and will continue
    26
         to deny, millions of responsible, law-abiding adults under the age of 21 their
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    28   fundamental, individual right to keep and bear arms secured under the Second and
                                                     9
                                             THIRD AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF


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     1   Fourteenth Amendments of the U.S. Constitution. Defendants’ actions and failures
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         alleged herein have caused CGF to dedicate resources that would otherwise be
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     4   available for other purposes to protect the rights and property of its members,

     5   supporters, and the general public, including by and through this action.
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               12.    Plaintiff Second Amendment Foundation (SAF) is a non-profit
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     8   educational foundation incorporated under the laws of Washington with its principal

     9   place of business in Bellevue, Washington. SAF seeks to preserve the effectiveness of
    10
         the Second Amendment through educational and legal action programs. SAF has over
    11
    12   650,000 members and supporters nationwide, including thousands of members in

    13   California. The purpose of SAF includes education, research, publishing, and legal
    14
         action focusing on the constitutional right to privately own and possess firearms under
    15
    16   the Second Amendment, and the consequences of gun control. The Court’s

    17   interpretation of the Second Amendment directly impacts SAF’s organizational
    18
         interests, as well as SAF’s members and supporters in California, who enjoy exercising
    19
    20   their Second Amendment rights. SAF brings this action on behalf of itself, its members,
    21   supporters who possess all the indicia of membership, and similarly situated members
    22
         of the public. Many of SAF’s individual California members between the ages of
    23
    24   18 and 20 have been adversely and directly harmed and injured by Defendants’
    25   enforcement of the statutory prohibition on the lawful sale of firearms to adults between
    26
         the ages of 18 and 20. Indeed, Penal Code section 27510 has denied, and will continue
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    28   to deny, millions of responsible, law-abiding adults under the age of 21 their
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                                             THIRD AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF


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     1   fundamental, individual right to keep and bear arms secured under the Second and
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         Fourteenth Amendments of the U.S. Constitution. Defendants’ actions and failures
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     4   alleged herein have caused SAF to dedicate resources that would otherwise be available

     5   for other purposes to protect the rights and property of its members, supporters, and the
     6
         general public, including by and through this action.                                               Deleted: <#>Plaintiff Matthew Jones brings this case on
     7                                                                                                       behalf of himself, and as a representative of a class of similar
                                                                                                             individuals consisting of adult, law-abiding California
     8         13.    Plaintiff Jose Lupe Chavez brings this case on behalf of himself, and as a             residents too numerous to individually name or include as
                                                                                                             parties to this action. These are California adult citizens ages
     9                                                                                                       18-to-20 who are not otherwise prohibited or exempt from
         representative of a class of similar individuals consisting of adult, law-abiding                   Penal Code section 27510, but are now precluded from
                                                                                                             lawfully purchasing, renting, or acquiring any firearm
    10                                                                                                       through licensed firearms retailers, shooting ranges, and
         California residents too numerous to individually name or include as parties to this                private party transfers, but for Defendants’ enforcement of
    11                                                                                                       Penal Code section 27510. Plaintiff Jones individually and as
                                                                                                             a representative on behalf of similarly situated adults have
    12   action. These are California adult citizens ages 18-to-20 who are not otherwise                     sustained, and will continue to sustain, injury by not being
                                                                                                             able to lawfully purchase, rent, or acquire any firearm
                                                                                                             through licensed firearms retailers, shooting ranges, and
    13   prohibited or exempt from Penal Code section 27510, but are now precluded from                      private party transfers, but for Defendants’ enforcement of
                                                                                                             Penal Code section 27510.¶
    14                                                                                                       Plaintiff Thomas Furrh brings this case on behalf of himself,
         lawfully purchasing, renting, or acquiring any firearm through licensed firearms                    and as a representative of a class of similar individuals
    15                                                                                                       consisting of adult, law-abiding California residents too
                                                                                                             numerous to individually name or include as parties to this
    16   retailers, shooting ranges, and private party transfers, but for Defendants’ enforcement            action. These are California adult citizens ages 18-to-20 who
                                                                                                             are not otherwise prohibited or exempt from Penal Code
                                                                                                             section 27510, but are now precluded from lawfully
    17   of Penal Code section 27510. Plaintiff Chavez individually and as a representative on               purchasing, renting, or acquiring any firearm through
                                                                                                             licensed firearms retailers, shooting ranges, and private party
    18                                                                                                       transfers, but for Defendants’ enforcement of Penal Code
                                                                                                             section 27510. Plaintiff Furrh individually and as a
         behalf of similarly situated adults have sustained, and will continue to sustain, injury            representative on behalf of similarly situated adults have
    19                                                                                                       sustained, and will continue to sustain, injury by not being
                                                                                                             able to lawfully purchase, rent, or acquire any firearm
    20   by not being able to lawfully purchase, rent, or acquire any firearm through licensed               through licensed firearms retailers, shooting ranges, and
                                                                                                             private party transfers, but for Defendants’ enforcement of
    21   firearms retailers, shooting ranges, and private party transfers, but for Defendants’
                                                                                                             Penal Code section 27510.¶
                                                                                                             Plaintiff Kyle Yamamoto brings this case on behalf of
                                                                                                             himself, and as a representative of a class of similar
    22                                                                                                       individuals consisting of adult, law-abiding California
         enforcement of Penal Code section 27510.                                                            residents too numerous to individually name or include as
    23                                                                                                       parties to this action. These are California adult citizens ages
                                                                                                             18-to-20 who are not otherwise prohibited or exempt from
    24         14.    Plaintiff Andrew Morris brings this case on behalf of himself, and as a                Penal Code section 27510, but are now precluded from
                                                                                                             lawfully purchasing, renting, or acquiring any firearm
                                                                                                             through licensed firearms retailers, shooting ranges, and
    25   representative of a class of similar individuals consisting of adult, law-abiding                   private party transfers, but for Defendants’ enforcement of
                                                                                                             Penal Code section 27510. Plaintiff Yamamoto individually
    26                                                                                                       and as a representative on behalf of similarly situated adults
         California residents too numerous to individually name or include as parties to this                have sustained, and will continue to sustain, injury by not
    27                                                                                                       being able to lawfully purchase, rent, or acquire any firearm
                                                                                                             through licensed firearms retailers, shooting ranges, and
    28   action. These are California adult citizens ages 18-to-20 who are not otherwise                     private party transfers, but for Defendants’ enforcement of
                                                                                                             Penal Code section 27510.¶
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                                             THIRD AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF


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     1   prohibited or exempt from Penal Code section 27510, but are now precluded from
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         lawfully purchasing, renting, or acquiring any firearm through licensed firearms
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     4   retailers, shooting ranges, and private party transfers, but for Defendants’ enforcement

     5   of Penal Code section 27510. Plaintiff Morris individually and as a representative on
     6
         behalf of similarly situated adults have sustained, and will continue to sustain, injury
     7
     8   by not being able to lawfully purchase, rent, or acquire any firearm through licensed

     9   firearms retailers, shooting ranges, and private party transfers, but for Defendants’
    10
         enforcement of Penal Code section 27510.
    11
    12         15.    Plaintiff PWG brings this case on behalf of itself, and as a representative

    13   of a class of similar entities consisting of licensed California retailers too numerous to
    14
         individually name or include as parties to this action. They are licensed firearms
    15
    16   retailers and shooting ranges in California that are injured because they are now

    17   prohibited from selling, supplying, delivering, or giving possession or control of a
    18
         firearm to any person under 21 years of age, who would otherwise be permitted to
    19
    20   lawfully purchase, rent, and acquire firearms.
    21         16.    Plaintiff NCSC brings this case on behalf of itself, and as a representative
    22
         of a class of similar entities consisting of licensed California retailers too numerous to
    23
    24   individually name or include as parties to this action. They are licensed firearms
    25   retailers and shooting ranges in California that are injured because they are now
    26
         prohibited from selling, supplying, delivering, or giving possession or control of a
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                                                     12
                                             THIRD AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF


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     1   firearm to any person under 21 years of age, who would otherwise be permitted to
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         lawfully purchase, rent, and acquire firearms.
     3
     4         17.    Plaintiffs FPC, FPF, CGF, and SAF bring this case as public interest                    Deleted: <#>Plaintiff Beebe Arms brings this case on
                                                                                                              behalf of itself, and as a representative of a class of similar
                                                                                                              individuals consisting of licensed California retailers too
     5   entities and organizations whose California members ages 18-to-20 are now prohibited                 numerous to individually name or include as parties to this
                                                                                                              action. They are licensed firearms retailers in California that
     6                                                                                                        are injured because they are now prohibited from selling,
         from lawfully purchasing, renting, or acquiring firearms. They are California adult                  supplying, delivering, or giving possession or control of a
                                                                                                              firearm to any person under 21 years of age, who would
     7                                                                                                        otherwise be permitted to lawfully purchase, rent, and
         citizens ages 18 to 20 who are not otherwise prohibited or exempt from Penal Code                    acquire firearms. ¶
     8
     9   section 27510, but are now precluded from lawfully purchasing, renting, or acquiring
    10
         firearms through licensed firearms retailers, shooting ranges, or private party transfers,
    11
    12   but for Defendants’ enforcement of Penal Code section 27510. The 18-to-20-year-old

    13   members would otherwise have standing to sue in their own right because they are
    14
         injured by not being able to purchase, rent, or acquire any firearm in California. Such
    15
    16   injuries and interests are germane to each entities’ and organizations’ purposes, and

    17   neither the claims asserted nor the relief requested requires participation of these
    18
         individual members.
    19
    20         18.    As to all claims made in a representative/associational capacity herein,
    21   there are common questions of law and fact that substantially injure and adversely
    22
         affect the rights, duties, and criminal liabilities of many similarly situated California
    23
    24   residents who knowingly or unknowingly are subject to the California statute in
    25   question. The relief sought in this action is declaratory and injunctive in nature, and the
    26
         action involves matters of substantial public interest that are likely to reoccur over time
    27
    28   with the potential of evading judicial review. Considerations of necessity, convenience,
                                                      13
                                              THIRD AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF


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     1   and justice justify relief to individual and institutional Plaintiffs in a
     2
         representative/associational capacity. Further, to the extent it becomes necessary or
     3
     4   appropriate, the institutional Plaintiffs are uniquely able to communicate with and

     5   provide notice to their thousands of California members and constituents who are or
     6
         would be party of any identifiable class of individuals for whose benefit this Court may
     7
     8   grant such relief.

     9         C.     Defendants
    10
               19.    Defendant Rob Bonta is the Attorney General of the State of California.
    11
    12   The Attorney General is the chief law enforcement officer of the state, and the head of

    13   the California Department of Justice. The Attorney General is charged by Article V,
    14
         section 13 of the California Constitution with the duty to ensure that California’s laws
    15
    16   are uniformly and adequately enforced. Defendant Bonta also has direct supervision

    17   over every district attorney, sheriff, and such other law enforcement officers as may be
    18
         designated by law, in all matters pertaining to the duties of their respective offices. The
    19
    20   Department of Justice and its Bureau of Firearms regulate and enforce state laws related
    21   to firearms. As Attorney General, Defendant Bonta is responsible for directing and
    22
         supervising the prosecution of all offenses under California’s criminal laws, including
    23
    24   the statutory ban on purchasing or acquiring firearms at issue in this case. The Attorney
    25   General is sued herein in his official capacity.
    26
               20.    Defendant Allison Mendoza is Acting Director of the Department of
    27
    28   Justice’s Bureau of Firearms. Upon information and belief, Defendant Mendoza reports
                                                      14
                                              THIRD AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF


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     1   to Attorney General Bonta, and is responsible for the various operations of the Bureau
     2
         of Firearms, including the implementation and enforcement of the statutes and
     3
     4   regulations governing sales, use, ownership, transfer, and assault weapon registration,

     5   of firearms. She is sued herein in her official capacity.
     6
               21.    Plaintiffs are unaware of the true names and capacities of those defendants
     7
     8   sued herein as DOES 1 through 20, inclusive, and therefore sue such defendants by

     9   fictitious names. Plaintiffs are informed and believe and based upon such information
    10
         and belief allege that each of the Defendants designated as DOES 1 through 20,
    11
    12   inclusive, is responsible in some manner for promulgating, administering, enforcing,

    13   or otherwise implementing the DOJ’s enforcement of the statutes at issue herein.
    14
         Plaintiffs will amend this complaint to include the true names of Defendant DOES
    15
    16   1 through 20, inclusive, as soon as is practicable after such names and capacities

    17   become known to them.
    18
               22.    All Defendants named herein administer or enforce California’s criminal
    19
    20   laws, including Penal Code section 27510, against Plaintiffs and other California adult
    21   citizens under color of state law within the meaning of 42 U.S.C. § 1983.
    22
                                     FACTUAL ALLEGATIONS
    23
    24         23.    The Second Amendment to the United States Constitution provides,
    25   “[a] well-regulated Militia, being necessary to the security of a free State, the right of
    26
         the people to keep and bear Arms, shall not be infringed.” U.S. Const. amend. II.
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                                                     15
                                             THIRD AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF


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     1         24.     The Second Amendment protects the people’s right acquire, keep, bear,
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         and possess arms, including firearms, for all lawful purposes including but not limited
     3
     4   to self-defense. The Second Amendment “guarantee[s] the individual right to possess

     5   and carry” firearms, and “elevates above all other interests the right of law-abiding
     6
         responsible    citizens   to   use   arms     in    defense     of    hearth     and     home.”
     7
     8   District of Columbia v. Heller, 554 U.S. 570, 635 (2008).

     9         25.     Once an individual turns 18 years old in this country, he or she is
    10
         considered a legal adult free to exercise fundamental constitutional rights pursuant to
    11
    12   the United States Constitution.

    13         26.     Individuals 18 years and older are considered adults for almost all
    14
         purposes. For example, at 18 years old, U.S. citizens can (i) vote, (ii) fully exercise
    15
    16   their freedom of speech, (iii) receive the full protections under the 4th, 5th, and 6th

    17   Amendments, (iv) enter into contracts, and (v) serve in the United States military.
    18
               27.     Indeed, male citizens over 18 years of age are designated members of the
    19
    20   militia pursuant to federal statute, 10 U.S.C. § 246(a), and may be selected and inducted
    21   for training and service into the United States armed forces, 50 U.S.C. § 3803(a).
    22
         As such, they are eligible to serve in the military, and to die for their country.
    23
    24         28.     The ordinary definition of the militia “[i]s all able-bodied men.” Heller,
    25   554 U.S. at 707 (Breyer, J. dissenting). The Supreme Court in Heller recognized that
    26
         through Congress’ plenary power, it organized all able-bodied men between
    27
    28   18 and 45 as part of the militia in the first Militia Act. Heller, 554 U.S. at 596. Thus,
                                                      16
                                              THIRD AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF


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     1   the Supreme Court recognized 18-to-20-year-olds as part of the militia; and as such,
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         they necessarily have the right to keep and bear arms. Further, as affirmed in Heller,
     3
     4   the right to keep and bear arms extends beyond the militia, reserving an individual right

     5   to keep and bear arms for all lawful purposes, “most notably for self-defense within the
     6
         home.” McDonald v. City of Chicago, 561 U.S. 742, 780 (2010).
     7
     8         29.    In addition, the “militia of the State” consists of both the organized and

     9   unorganized militia. Specifically, the State’s organized militia encompasses the
    10
         National Guard, State Military Reserve and the Naval Militia. Cal. Military and
    11
    12   Veterans Code Section 120.

    13         30.    “The unorganized militia consist of all persons liable to service in the
    14
         militia, but not members of the National Guard, the State Military Reserve, or the Naval
    15
    16   Militia.” Cal. Military and Veterans Code Section 121.

    17         31.    “[T]he militia in colonial America consisted of a subset of ‘the people’ –
    18
         those who were male, able-bodied, and within a certain age range.” Heller, 554 U.S.
    19
    20   at 580. Further, the militias of every colony and state, and the federal militia, included
    21   18-to-20-year-olds. Indeed, it is “the right of the people to keep and bear arms” that
    22
         the Second Amendment protects.1 Id., emphasis added.
    23
    24
    25   1
          The Court’s full discussion of “the people”:
    26         What is more, in all six other provisions of the Constitution that mention “the
         people,” the term unambiguously refers to all members of the political community, not
    27   an unspecified subset. As we said in United States v. Berdugo-Urquidez, 494 U.S. 259,
    28   265, 110 S.Ct. 1056, 108 L.Ed.2d 222 (1990):
                                                     17
                                             THIRD AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF


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     1         32.     Despite these facts, the State of California recently enacted legislation,
     2
         effective January 1, 2019, that prohibits an entire class of adults from exercising their
     3
     4   Second Amendment right to keep and bear arms. Specifically, California prohibits

     5   adults ages 18-to-20 from purchasing or acquiring any firearm. The California law,
     6
         Penal Code section 27510(a)-(b), also makes it a crime for licensed firearms retailers
     7
     8   and ranges to sell, supply, deliver, or give possession or control of a firearm to any

     9   person under 21 years of age.
    10
               33.     By prohibiting licensed firearm retailers and ranges from selling,
    11
    12   supplying, delivering, or giving possession or control of a firearm to any person

    13   under 21 years of age, the California Age-Based Gun Ban constitutes an
    14
         unconstitutional infringement on the acquisition or purchase of any firearm and that
    15
    16   ban infringes on the fundamental constitutional rights of not only the Plaintiffs, but

    17   thousands of other law-abiding adults throughout California. As such, the California
    18
         Age-Based Gun Ban is invalid under the Second and Fourteenth Amendments.
    19
    20
    21               “’’[T]he people’ seems to have been a term of art employed in
    22               select parts of the Constitution…. [Its uses] sugges[t] that ‘the
                     people’ protected by the Fourth Amendment, and by the First and
    23               Second Amendments, and to whom rights and powers are reserved
    24               in the Ninth and Tenth Amendments, refers to a class of persons
                     who are part of a national community or who have otherwise
    25               developed suffice connection with this country to be considered
    26               part of that community.”
    27         This contrasts markedly with the phrase “the militia” in the prefatory clause. As
         described below, the “militia” in colonial America consisted of a subset of “the people”
    28   — those who were male, able bodied, and within a certain age range.
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                                             THIRD AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF


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     1                            The California Age-Based Gun Ban
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               34.    On September 28, 2018, then Governor Edmund G. Brown, Jr. signed into
     3
     4   law Senate Bill 1100 (“SB 1100”, 2017-2018 Reg. Sess.). SB 1100 amended

     5   Section 27510 to increase the State’s minimum age for firearm purchase and general
     6
         possession, from 18 to 21 years of age. SB 1100 became effective on January 1, 2019.
     7
     8   Specifically, Penal Code section 27510 stated: “(a) A person licensed under Sections

     9   26700 to 26915, inclusive, shall not sell, supply, deliver, or give possession or control
    10
         of a firearm to any person under 21 years of age.”2
    11
    12         35.     Prior to enactment of SB 1100, existing California law prohibited the

    13   sale or transfer of a handgun, except as exempted, to any person under the age of 21.
    14
         However, then-existing California law also allowed a person at least 18 years of age to
    15
    16   buy or transfer a firearm that is not a handgun (e.g., shotguns, rifles).

    17         36.    With enactment of SB 1100, however, California’s ban on the acquisition
    18
         and purchase of all firearms is now complete, except for a few exemptions found in
    19
    20   the new law. Penal Code section 27510, as amended, provides a small handful of
    21   exemptions, stating the law “does not apply to” the sale, supplying, delivery, or giving
    22
         possession or control of a firearm to (i) a person 18 years of age or older that holds a
    23
    24   valid hunting license, (ii) an active peace officer that is 18 years of age or older,
    25
    26
         2
    27     To be clear, Plaintiffs do not contest the State’s ban on the sale/transfer of handguns
         to adults under the age of 21 in this Complaint. Plaintiffs reserve the right to contest
    28   the State’s handgun ban in separate complaint in the future.
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                                              THIRD AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF


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     1   (iii) an active federal officer or law enforcement agent that is 18 or older, (iv) a reserve
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         peace officer that is 18 or older, (v) an active member in the U.S. military that is 18 or
     3
     4   older, and (vi) a person honorably discharged from the military that is 18 or older.

     5         37.    However, on October 11, 2019, only ten months after SB 1100 was
     6
         enacted, the State of California already has taken additional steps to further restrict
     7
     8   Young Adults’ Second Amendment rights by incorporating additional prohibitions

     9   within Section 27510’s so-called exemptions. On October 11, 2019, Governor Gavin
    10
         Newsom signed Senate Bill 61 (SB 61) into law.
    11
    12         38.    Before SB 61, the so-called “exemptions” listed in Penal Code section

    13   27510(b)(1)-(2) were irrelevant, inapplicable, and illusory as they did not provide
    14
         Young Adults any ordinary means of lawfully obtaining firearms. SB 61 amended
    15
    16   Section 27510’s exemption that previously permitted licensed dealers to sell, deliver,

    17   transfer, and provide possession or control of firearms that are not handguns (e.g., rifles
    18
         and shotguns) to Young Adults who obtain and possess a valid hunting license issued
    19
    20   by the California Department of Wildlife. See Penal Code section 27510(b)(1), as
    21   amended in Senate Bill 61 (2019-2020 Reg. Sess.).
    22
               39.    Now, even if a Young Adult were forced to go through the significant time
    23
    24   and expense to obtain a hunting license (even if they have no desire to hunt) in order
    25   to exercise their Second Amendment right to keep and bear arms for self-defense and
    26
         other lawful purposes, under the new law, they are still prohibited from purchasing,
    27
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                                              THIRD AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF


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     1   transferring, acquiring, or obtaining possession or control of all semiautomatic,
     2
         centerfire rifles of any kind. See Senate Bill 61 (2019-2020 Reg. Sess.).
     3
     4         40.    The amended portions of California Penal Code section 27510 now

     5   provide:
     6
               (a) A person licensed under Sections 26700 to 26915, inclusive, shall not
     7         sell, supply, deliver, or give possession or control of a firearm to any
     8         person who is under 21 years of age.
     9
               (b) (1) Subdivision (a) does not apply to or affect the sale, supplying,
    10         delivery, or giving possession or control of a firearm that is not a
    11         handgun or a semiautomatic centerfire rifle to a person 18 years of age
               or older who possesses a valid, unexpired hunting license issued by the
    12         Department of Fish and Wildlife.
    13
               (2) Subdivision (a) does not apply to or affect the sale, supplying,
    14
               delivery, or giving possession or control of a firearm that is not a
    15         handgun or a semiautomatic centerfire rifle to a person who is 18 years
    16         of age or older and provides proper identification of being an honorably
               discharged member of the United States Armed Forces, the National
    17
               Guard, the Air National Guard, or the active reserve components of the
    18         United States. For purposes of this subparagraph, proper identification
    19         includes an Armed Forces Identification Card or other written
               documentation certifying that the individual is an honorably discharged
    20         member.
    21
         SB 61 (2019-2020 Reg. Sess.), California Penal Code section 27510(a)-(b) (bold
    22
    23   added).
    24
               41.    Thus, only ten months after stripping Young Adults of their Second
    25
         Amendment rights, the State of California and the Defendants implementing that law,
    26
    27   have now whittled down Penal Code section 27510’s already inapplicable and
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                                                    21
                                            THIRD AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF


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     1   irrelevant hunting license “exemption” — the only exemption that is even possible for
     2
         an ordinary, law abiding Young Adult who does not wish to enter into a highly
     3
     4   dangerous career in law enforcement or the military — by prohibiting an entire class

     5   of firearms (semiautomatic centerfire rifles).
     6
               42.    Notably, under Penal Code section 27510, as amended, a Young Adult
     7
     8   would be allowed to purchase a semiautomatic, centerfire rifle while active in the U.S.

     9   Armed Forces. However, if that adult were subsequently honorably retired before
    10
         turning 21, they would again become prohibited from purchasing the same rifle. In
    11
    12   short, the State’s ban on Young Adults purchasing and acquiring firearms has nothing

    13   to do with “training” or “safety.” It is a ban; with no rational reason or legitimate
    14
         purpose other than to deprive Young Adults of their Second Amendment rights.
    15
    16         43.    This means persons between the ages of 18 and 21 that desire to protect

    17   themselves, their family or others, must now feign interest in hunting and get a hunting
    18
         license, join law enforcement, enlist in the military, or be sure to be honorably
    19
    20   discharged from the military before they can lawfully purchase, rent, acquire, and
    21   possess only certain classes of firearms in California.3 However, “the people” identified
    22
    23
         3
           With the signing of SB 61, even if a Young Adult were to go through the irrelevant
    24   and inapplicable requirements and pay the necessary fees to obtain a valid hunting
    25   license, they are still prohibited from purchasing all handguns and all semiautomatic
         centerfire rifles from any licensed dealer or private party transaction. Thus, the most
    26   common, widely used, and accepted classes of firearms for self-defense and arguably
    27   the most common classes of firearms are prohibited from purchase/acquisition by
         Young Adults even when they have complied with the State’s so-called “exemption.”
    28   See Heller, 554 U.S. at 629 (“it is no answer to say, … that it is permissible to ban the
                                                    22
                                             THIRD AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF


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     1   in Heller encompass many more than the few identified in the limited so-called
     2
         “exemptions” provided in Penal Code section 27510. Those “people” have a Second
     3
     4   Amendment right to keep and bear arms for an array of lawful purposes, most notably

     5   for self-defense. McDonald, 561 U.S. at 780.
     6
               44.   Further, the licensed firearms dealer that violates the law is guilty of a
     7
     8   crime and will be punished in accordance with Penal Code section 27590. Under the

     9   California Age-Based Gun Ban, selling a firearm to a person under 21 is either a felony
    10
         or a misdemeanor. If charged as a felony, the crime is punishable by imprisonment for
    11
    12   two, three, or four years. If charged as a misdemeanor, the crime is punishable by

    13   imprisonment in the county jail for not to exceed one year, by a $1,000 fine, or both
    14
         the fine and imprisonment (see Penal Code § 27590 (b)(6) and (c) (3)). Moreover, the
    15
    16   punishment is increased for an alternate felony/misdemeanor if the transferred firearm

    17   was used in the subsequent commission of a felony for which the person is convicted
    18
         and a sentence is imposed (see Penal Code § 27590 (d)(2)).
    19
    20                Infringement of Plaintiffs’ and similarly situated adults’
                                    Second Amendment rights
    21
               45.   Federal law already significantly constrains the right of adult citizens
    22
    23   under the age of 21 from purchasing handguns. Under 18 U.S.C. § 922(b)(1), a
    24
         federally licensed firearm dealer may not sell a handgun to any person under the
    25
    26
    27
         possession of handguns so long as the possession of other firearms (i.e., long guns) is
    28   allowed”); Parker v. District of Columbia, 478 F.3d 370, 400 (D.C. Cir. 2007).
                                                  23
                                            THIRD AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF


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     1   age of 21. California’s new ban expands preexisting federal and state law limits by
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         extending the firearms ban to all firearms, and prohibits adults not otherwise prohibited
     3
     4   from purchasing firearms from any source — not just federally licensed dealers. Even

     5   if Young Adults were to comply with the State’s hunting license “exemption,” they
     6
         would still be prohibited from purchasing any kind of handgun or semiautomatic
     7
     8   centerfire rifle — these classes consist of the majority of all firearms purchased and

     9   used in the United States today.
    10
               46.    In addition to the various federal limits on firearm acquisitions, California
    11
    12   law independently limits access to firearms for those individuals who are considered

    13   unsafe, mentally unstable, or otherwise incapable of safely operating a firearm. For
    14
         instance, California prohibits access to those (i) convicted of a felony; (ii) convicted of
    15
    16   domestic violence; (iii) those subject to a restraining order; (iv) those subject to a gun

    17   violence restraining order; (v) those admitted to a medical facility under Welfare and
    18
         Institutions Code section 5150; (vi) minors under the age of 18; and (vii) various other
    19
    20   misdemeanor convictions. See Penal Code §§ 29800, 29805.
    21         47.    California law requires, with few exceptions, that all firearm transfers be
    22
         conducted by a federal licensed dealer. See Penal Code §§ 26500, 26800-26850;
    23
    24   See also 27 C.F.R. 478.124(a). This applies even among two private individuals who
    25   wish to transfer a firearm. Because Penal Code section 27510 prohibits licensed dealers
    26
         from “supply[ing], deliver[ing], or giv[ing] possession or control of a firearm to any
    27
    28   person under 21 years of age, individuals from 18-to-20 years of age cannot lawfully
                                                      24
                                              THIRD AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF


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     1   acquire firearms through a firearms dealer or through private party transfers. The effect           Deleted: <#> Plaintiff Jones is a 20-year-old adult male
                                                                                                             who, but for the California Age-Based Gun Ban and
     2                                                                                                       Defendants’ policies, practices, customs, and enforcement of
         of the California Age-Based Gun Ban, and the State’s most recent action to further                  said law, would be eligible to purchase and possess firearms
                                                                                                             for lawful purposes, including self-defense. On April 23,
     3                                                                                                       2019, Mr. Jones entered into AO Sword gun shop with the

     4   restrict the law’s limited, inapplicable, and illusory “exemptions,” is to impose a                 intent to purchase a firearm for self-defense and other lawful
                                                                                                             purposes. On information and belief, AO Sword was duly
                                                                                                             licensed within the meaning of Penal Code sections 26700 to
     5   significant, unconstitutional burden on the right to keep and bear arms with regard to              26915, inclusive. Upon informing the licensed dealer of his
                                                                                                             desire to purchase a firearm, Mr. Jones was asked if he was
                                                                                                             21. After informing the employee that he was 20 years old,
     6                                                                                                       Mr. Jones was informed that due to his age, AO Sword
         an entire class of law-abiding, adult citizens.                                                     would not be able to sell or transfer any type of firearm to
     7                                                                                                       him. Because the licensed dealer was prohibited from
                                                                                                             transferring Mr. Jones a firearm of any kind under Penal
     8                                IMPACT ON PLAINTIFFS                                                   Code section 27510, he was denied the ability to exercise his
                                                                                                             Second Amendment rights, including the “right to use arms
     9                                                                                                       in self-defense of hearth and home.” Heller, 554 U.S. at
               48.    Plaintiff Chavez is a 20-year-old adult male who, but for the California               635. This unlawful prohibition and infringement on
                                                                                                             Mr. Jones’ Second Amendment rights will continue until he
    10                                                                                                       is 21 years old. ¶
         Age-Based Gun Ban and Defendants’ policies, practices, customs, and enforcement of                    Plaintiff Jones was not seeking to purchase a firearm in
    11                                                                                                       order to hunt and has no interest in using his firearm for
                                                                                                             hunting. He does not possess a valid, unexpired hunting
    12   said law, would be eligible to purchase and possess firearms for lawful purposes,                   license issued by the California Department of Fish and
                                                                                                             Wildlife. Thus, the extremely limited exemption under Penal
                                                                                                             Code section 27510(b)(1) is inapplicable. Plaintiff Jones is
    13   including self-defense. Most recently, Mr. Chavez entered into Moreau Works LLC,                    not an active or retired peace officer or federal officer. He
                                                                                                             also is not a current or retired member of the armed forces.
    14                                                                                                       Plaintiff Jones does not intend to enter into a highly
         gun shop in San Marcos, California with the intent to purchase a long gun and/or                    dangerous career in law enforcement or the military and will
    15                                                                                                       not be forced to do so in order to exercise his Second
                                                                                                             Amendment rights. Thus, the illusory exceptions under Penal
    16   centerfire semiautomatic rifle for self-defense and other lawful purposes.                          Code section 27510(b)(1)-(3) are inapplicable to him.¶
                                                                                                             Plaintiff Furrh is a 20-year-old adult male who, but for the
                                                                                                             California Age-Based Gun Ban and Defendants’ policies,
    17   On information and belief, Moreau Works LLC was duly licensed within the meaning                    practices, customs, and enforcement of said law, would be
                                                                                                             eligible to purchase and possess firearms for lawful
    18                                                                                                       purposes, including self-defense. On May 15, 2019, Mr.
                                                                                                             Furrh entered Beebe Arms gun shop in Fallbrook, California,
         of Penal Code sections 26700 to 26915, inclusive. Upon informing the licensed dealer                to purchase a firearm for self-defense and other lawful
    19                                                                                                       purposes. On information and belief, Beebe Arms was duly
                                                                                                             licensed within the meaning of Penal Code sections 26700 to
    20   of his desire to purchase a firearm, Mr. Chavez was asked if he was 21. After informing             26915, inclusive. Upon informing the licensed dealer of his
                                                                                                             desire to purchase a firearm, Mr. Furrh was asked if he was
    21   the employee that he was 20 years old, Mr. Chavez was informed that due to his age,
                                                                                                             21. After informing the Beebe Arms employee that he was
                                                                                                             20 years old, Mr. Furrh was informed that due to his age,
                                                                                                             Beebe Arms would not be able to sell or transfer any type of
    22                                                                                                       firearm to him. Because the licensed dealer was prohibited
         Moreau Works LLC would not be able to sell or transfer any type of firearm to him.                  from transferring Mr. Furrh a firearm of any kind under
    23                                                                                                       Penal Code section 27510, he was denied the ability to
                                                                                                             exercise his Second Amendment rights, including the “right
    24   Because the licensed dealer was prohibited from transferring Mr. Chavez a firearm of                to use arms in self-defense of hearth and home.” Heller, 554
                                                                                                             U.S. at 635. This unlawful prohibition and infringement on
                                                                                                             Mr. Furrh’s Second Amendment rights will continue until he
    25   any kind under Penal Code section 27510, he was denied the ability to exercise his                  is 21 years old. ¶
                                                                                                             Plaintiff Furrh was not seeking to purchase a firearm in order
    26                                                                                                       to hunt and had no interest in using his firearm for hunting.
         Second Amendment rights, including the “right to use arms in self-defense of hearth                 He does not possess a valid, unexpired hunting license issued
    27                                                                                                       by the California Department of Fish and Wildlife. Thus, the
                                                                                                             extremely limited exemption under Section 27510(b)(1) is
    28   and home.” Heller, 554 U.S. at 635. Mr. Chavez also confirmed his inability to                      inapplicable. Plaintiff Furrh is not an active or retired peace
                                                                                                             officer or federal officer. He also is not a current or retired
                                                                                                                                                                          ... [1]
                                                     25
                                             THIRD AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF


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     1   purchase any firearm under California law due to his age in discussions with employees
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         at least two other licensed dealers, Gunther’s Guns in Carlsbad, California and Duncan
     3
     4   Gun Works in San Marcos, California. This unlawful prohibition and infringement on

     5   Mr. Chavez’s Second Amendment rights will continue until he is 21 years old.
     6
                49.     Plaintiff Chavez was not seeking to purchase a firearm in order to hunt
     7
     8   and has no interest in using his firearm for hunting. He does not possess a valid,

     9   unexpired hunting license issued by the California Department of Fish and Wildlife.
    10
         Thus, the extremely limited exemption under Penal Code section 27510(b)(1) is
    11
    12   inapplicable. Plaintiff Chavez is not an active or retired peace officer or federal officer.

    13   He also is not a current or retired member of the armed forces. Plaintiff Chavez does
    14
         not intend to enter into a highly dangerous career in law enforcement or the military
    15
    16   and will not be forced to do so in order to exercise his Second Amendment rights. Thus,

    17   the illusory exceptions under Penal Code section 27510(b)(1)-(3) are inapplicable to
    18
         him.
    19
    20          50.   Plaintiff Morris is a 19-year-old adult male who, but for the California
    21   Age-Based Gun Ban and Defendants’ policies, practices, customs, and enforcement of
    22
         said law, would be eligible to purchase and possess firearms for lawful purposes,
    23
    24   including self-defense. In approximately 2022, Mr. Morris began an inquiry to
    25   purchase a long gun for self-defense and other lawful purposes. Mr. Morris visited the
    26
         online sales sites of several licensed firearms dealers in San Diego County
    27
    28   On information and belief, these dealers were duly licensed within the meaning of
                                                      26
                                              THIRD AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF


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     1   Penal Code sections 26700 to 26915, inclusive. After selecting the type of firearm he
     2
         was interested in purchasing, Mr. Morris discovered that there was an age restriction
     3
     4   prohibiting individuals ages 18 to 20 from purchasing firearms in California. As such,

     5   he would not be able to purchase or transfer any type of firearm. Because the licensed
     6
         dealers were prohibited from transferring Mr. Morris a firearm of any kind under Penal
     7
     8   Code section 27510, he was denied the ability to exercise his Second Amendment

     9   rights, including the “right to use arms in self-defense of hearth and home.” Heller,
    10
         554 U.S. at 635. This unlawful prohibition and infringement on Mr. Morris’ Second
    11
    12   Amendment rights will continue until he is 21 years old.

    13          51.     Plaintiff Morris was not seeking to purchase a firearm in order to hunt
    14
         and has no interest in using his firearm for hunting. He does not possess a valid,
    15
    16   unexpired hunting license issued by the California Department of Fish and Wildlife.

    17   Thus, the extremely limited exemption under Penal Code section 27510(b)(1) is
    18
         inapplicable. Plaintiff Morris is not an active or retired peace officer or federal officer.
    19
    20   He also is not a current or retired member of the armed forces. Plaintiff Morris does
    21   not intend to enter into a highly dangerous career in law enforcement or the military
    22
         and will not be forced to do so in order to exercise his Second Amendment rights. Thus,
    23
    24   the illusory exceptions under Penal Code section 27510(b)(1)-(3) are inapplicable to
    25   him.
    26
                52.   Plaintiff PWG is a licensed firearms retailer and range who has the
    27
    28   privilege of holding a special weapons permit in the State of California. A major part
                                                      27
                                              THIRD AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF


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     1   of PWG’s business activities include renting firearms to customers in order to use
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         those firearms on the PWG ranges. Due to the Penal Code section 27510 prohibition
     3
     4   on licensed dealers from “sell[ing], supply[ing], deliver[ing], or giv[ing] possession or

     5   control of a firearm to any person under 21 years of age,” PWG has been forced to
     6
         deny numerous otherwise qualified individuals from purchasing, renting, or even
     7
     8   handling firearms of any kind from their store and range.

     9         53.    Further, Plaintiff PWG has had to deny numerous adult customers,
    10
         ages 18-20, from attending or taking part in PWG’s firearms classes. Most PWG
    11
    12   classes require students to handle firearms in some manner. Because PWG is prevented

    13   from allowing even possession or control of any firearm to adults ages 18-20, PWG
    14
         has had to deny all adults in that age range from attending their firearms classes who
    15
    16   would otherwise be permitted – even when accompanied by an individual over 21.

    17         54.    Penal Code section 27510’s prohibitions also prevent Plaintiff PWG from
    18
         offering hunter education classes to adults between the ages 18-20 who wish to comply
    19
    20   with Penal Code section 27510’s exemption, which allows individuals over 18 to
    21   acquire long guns if they possess a valid, unexpired hunting license issued by the
    22
         Department of Fish and Wildlife. The hunter’s education classes require that students
    23
    24   handle and demonstrate the safe handling of a firearm. Because PWG is prevented from
    25   “sell[ing], supply[ing], deliver[ing], or giv[ing] possession or control of a firearm to
    26
         any person under 21 years of age,” PWG cannot lawfully provide the necessary
    27
    28   instruction for customers to meet this exception.
                                                     28
                                             THIRD AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF


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     1         55.    Thus, Penal Code Section 27510 has not only prohibited Plaintiff PWG
     2
         from selling firearms to otherwise acceptable adults, but it has also required PWG to
     3
     4   prevent anyone under the age of 21 from entering their range or attending any of their

     5   classes, due to the liability of potentially supplying a firearm to someone under the
     6
         age of 21.
     7
     8         56.    Plaintiff NCSC is a licensed firearms retailer and range in San Marcos,

     9   California. A major part of NCSC’s business activities include renting firearms to
    10
         customers in order to use those firearms on the NCSC range. Due to the Penal Code
    11
    12   section 27510 prohibition on licensed dealers from “sell[ing], supply[ing], deliver[ing],

    13   or giv[ing] possession or control of a firearm to any person under 21 years of age,”
    14
         NCSC has been forced to deny numerous otherwise qualified individuals from
    15
    16   purchasing, renting, or even handling firearms of any kind from their store and range.

    17         57.    Further, Plaintiff NCSC has had to deny numerous adult customers, ages
    18
         18-20, from attending or taking part in NCSC’s firearms classes. Most NCSC classes
    19
    20   require students to handle firearms in some manner. Because NCSC is prevented from
    21   allowing even possession or control of any firearm to adults ages 18-20, NCSC has had
    22
         to deny all adults in that age range from attending their firearms classes who would
    23
    24   otherwise be permitted – even when accompanied by an individual over 21.
    25         58.    Penal Code section 27510’s prohibitions also prevent Plaintiff NCSC
    26
         from offering hunter education classes to adults between the ages 18-20 who wish to
    27
    28   comply with Penal Code section 27510’s exemption, which allows individuals over
                                                     29
                                             THIRD AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF


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     1   18 to acquire long guns if they possess a valid, unexpired hunting license issued by the
     2
         Department of Fish and Wildlife. The hunter’s education classes require that students
     3
     4   handle and demonstrate the safe handling of a firearm. Because NCSC is prevented

     5   from “sell[ing], supply[ing], deliver[ing], or giv[ing] possession or control of a firearm
     6
         to any person under 21 years of age,” NCSC cannot lawfully provide the necessary
     7
     8   instruction for customers to meet this exception.

     9         59.    Thus, Penal Code Section 27510 has not only prohibited Plaintiff NCSC
    10
         from selling firearms to otherwise acceptable adults, but it has also required NCSC to
    11
    12   prevent anyone under the age of 21 from entering their range or attending any of their

    13   classes, due to the liability of potentially supplying a firearm to someone under the
    14
         age of 21.
    15
    16         60.    Plaintiff Firearms Policy Coalition is a 501(c)(4) nonprofit organization              Deleted: <#>Plaintiff Beebe Arms is licensed firearms
                                                                                                             retailer in Fallbrook, California. As a result of California
                                                                                                             Age-Based Gun Ban, Beebe Arms was forced to deny
    17   that advocates individual liberties and constitutional rights — especially those                    otherwise qualified individuals, and specifically Plaintiff
                                                                                                             Furrh, the ability to purchase any type of firearm. Due to the
    18                                                                                                       Penal Code section 27510 prohibition on licensed dealers
         protected under the First, Second, Fifth, and Fourteenth Amendments. FPC’s                          from “sell[ing], supply[ing], deliver[ing], or giv[ing]
                                                                                                             possession or control of a firearm to any person under 21
    19                                                                                                       years of age,” Beebe Arms has been forced to deny
                                                                                                             numerous otherwise qualified individuals from purchasing,
    20   membership includes California residents who are between 18 and 20 years of age.                    renting, or even handling firearms of any kind from their
                                                                                                             store.¶
    21   Penal Code section 27510’s ban on firearm sales and transfers to adults within the ages             Penal Code section 27510’s prohibitions also prevent
                                                                                                             Plaintiff Beebe Arms from offering hunter education classes
    22                                                                                                       to adults between the ages 18-20 who wish to comply with
                                                                                                             Penal Code section 27510’s exemption, which allows
         of 18-to-20 infringes on the Second Amendment rights of these Firearms Policy                       individuals over 18 to acquire long guns if they possess a
    23                                                                                                       valid, unexpired hunting license issued by the Department of
                                                                                                             Fish and Wildlife. The hunter’s education classes require that
    24   Coalition members. FPC brings this action on behalf of these members.                               students handle and demonstrate the safe handling of a
                                                                                                             firearm. Because Beebe Arms is prevented from “sell[ing],
    25         61.    Plaintiff FPF is a 501(c)3 nonprofit organization that serves its members,
                                                                                                             supply[ing], deliver[ing], or giv[ing] possession or control of
                                                                                                             a firearm to any person under 21 years of age,” Beebe Arms
                                                                                                             cannot lawfully provide the necessary instruction for
    26                                                                                                       customers to meet this exception.¶
         supporters, and the public through advocating individual liberties and constitutional               Thus, Penal Code Section 27510 has prohibited Beebe Arms
    27                                                                                                       from selling firearms to otherwise acceptable adults.¶

    28   rights – especially those protected under the Second Amendment. FPF’s membership
                                                     30
                                             THIRD AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF


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     1   and supporters includes California residents who are over 18, but under 21 years old.
     2
         Penal Code section 27510’s ban on firearm sales and transfers to adults within the ages
     3
     4   of 18-to-20 infringes on the Second Amendment rights of these FPF members and

     5   supporters. FPF brings this action on behalf of these members.
     6
               62.    Plaintiff CGF is a 501(c)(3) non-profit organization that serves its
     7
     8   members, supporters, and the public through education, cultural, and judicial efforts to

     9   advance Second Amendment and related civil rights. CGF’s membership and
    10
         supporters includes California residents who are over 18, but under 21 years old. Penal
    11
    12   Code section 27510’s ban on firearm sales and transfers to adults within the ages

    13   of 18-to-20 infringes on the Second Amendment rights of these CGF members.
    14
         CGF brings this action on behalf of these members.
    15
    16         63.    Plaintiff SAF has over 600,000 members and supporters nationwide,

    17   including thousands in the State of California. SAF’s membership includes California
    18
         residents who are over 18, but under 21 years old. Penal Code section 27510’s ban on
    19
    20   firearm sales and transfers to adults within the ages of 18-to-20 infringes on the Second
    21   Amendment rights of these SAF members. SAF brings this action on behalf of these
    22
         members.
    23
    24         64.    Plaintiffs Chavez, Morris, PWG, NCSC, FPC, FPF, CGF and SAF in their                   Deleted: Jones, Furrh, Yamamoto,
                                                                                                             Deleted: , Beebe Arms
    25   representative capacities, include both male and female adults, who, apart from their
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                                                     31
                                             THIRD AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF


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     1   age, meet all other state or federal requirements for purchasing or possessing firearms.4
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         Plaintiffs are not law enforcement, federal officers, or in the armed services; nor do
     3
     4   these Plaintiffs have valid, unexpired hunting licenses. Therefore, they are not exempt

     5   from California’s ban.
     6
                  65.   But for the California Age-Based Gun Ban, these Plaintiffs would sell,
     7
     8   supply, deliver, purchase, and/or transfer handguns, rifles, and/or shotguns for

     9   self-defense and other lawful purposes.
    10
                  66.   Penal Code section 27510 constitutes a ban on firearm sales and transfers
    11
    12   to adults within the ages of 18-to-20, and as such, infringes on their Second

    13   Amendment rights.
    14
                            DECLARATORY JUDGMENT ALLEGATIONS
    15
    16            67.   There is an actual and present controversy between the parties. Plaintiffs

    17   contend that Penal Code section 27510 infringes on Plaintiffs’ Second Amendment
    18
         rights by prohibiting licensed dealers from “sell[ing], supply[ing], deliver[ing], or
    19
    20   giv[ing] possession or control of a firearm to any person under 21 years of age,” and
    21   thus, prohibiting adults between the ages of 18 and 20 from purchasing any firearms.
    22
         Defendants deny these contentions. Plaintiffs desire a judicial declaration that Penal
    23
    24   Code section 27510 violates Plaintiffs’ constitutional rights. Plaintiffs should not be
    25   denied their constitutional rights as they are lawful adults.
    26
    27
    28   4
             Plaintiffs are not seeking a class action against Defendants in this complaint.
                                                        32
                                               THIRD AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF


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     1                        INJUNCTIVE RELIEF ALLEGATIONS
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               68.    Plaintiffs are presently and continuously injured by Defendants’
     3
     4   enforcement of Penal Code section 27510 insofar as that provision violates Plaintiffs’

     5   rights under the Second Amendment and Fourteenth Amendment by prohibiting
     6
         licensed dealers from “sell[ing], supply[ing], deliver[ing], or giv[ing] possession or
     7
     8   control of a firearm to any person under 21 years of age,” and thus, prohibiting adults

     9   between the ages of 18 and 20 from purchasing any firearms.
    10
               69.    If not enjoined by this Court, Defendants will continue to enforce Penal
    11
    12   Code section 27510 in derogation of Plaintiffs’ constitutional rights. Plaintiffs have no

    13   plain, speedy, and adequate remedy at law. Damages are indeterminate or
    14
         unascertainable and, in any event, would not fully redress any harm suffered by
    15
    16   Plaintiffs because they are unable to engage in constitutionally protected activity due

    17   to California’s ongoing enforcement of Penal Code section 27510.
    18
                                     FIRST CAUSE OF ACTION
    19                        (Violation of U.S. Const. amends. II and XIV)
    20
               70.    Plaintiffs incorporate by reference the allegations of the preceding
    21
    22   paragraphs 1 through 69.
    23         71.    The Second Amendment’s guarantee of “the right of the people to keep
    24
         and bear Arms” secures to law-abiding, adult citizens the fundamental constitutional
    25
    26   right to purchase and acquire firearms for self-defense and other lawful purposes.
    27   U.S. Const. amend. II.
    28
                                                     33
                                             THIRD AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF


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     1         72.    This Second Amendment right applies against the State of California
     2
         through the Fourteenth Amendment to the U.S. Constitution.
     3
     4         73.    Penal Code section 27510 prohibits lawful, responsible, adult citizens

     5   ages 18-to-20 from purchasing firearms of any type from any source as it prevents
     6
         federal firearms licensees from selling, supplying, delivering, or giving possession or
     7
     8   control of any firearm to any person under 21 years of age.

     9         74.    Penal Code section 27510(b)(1)-(3) provides limited “exemptions” to this
    10
         blanket prohibition. The exemptions are generally inapplicable, irrelevant, and illusory
    11
    12   and cover only a relatively small number of law enforcement, military, and those with

    13   current unexpired hunting licenses. Penal Code § 27510(b)(1)-(3). As of
    14
         October 11, 2019, the State of California has taken significant steps to further restrict
    15
    16   the hunting license “exemption” by still prohibiting federal firearms licensees from

    17   selling, supplying, delivering, or giving possession or control of all semiautomatic
    18
         centerfire rifles to Young Adults even when they possess a valid hunting license.
    19
    20   Young Adults should also not be required to enter into dangerous careers in order to
    21   exercise their Second Amendment rights. These exemptions do not apply to the vast
    22
         majority of adult citizens ages 18-to-20.
    23
    24         75.    Penal Code section 27510 requires that all firearm transfers be conducted
    25   through federally licensed dealers. Section 27510 also prevents private party
    26
         transactions from being completed between adult citizens. Thus, the two main sources
    27
    28   of purchasing and acquiring firearms are entirely prohibited to Young Adults.
                                                     34
                                             THIRD AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF


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     1         76.    The California Age-Based Gun Ban and Defendant’s policies, practices,
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         and customs of enforcing said law constitute a ban that infringes on, and imposes an
     3
     4   unconstitutional burden upon, the Second Amendment rights of Plaintiffs Chavez,                        Deleted: Jones, Furrh, Yamamoto,


     5   Morris, PWG, NCSC, FPC, FPF, CGF, and SAF as alleged above. Thus, the ban is                           Deleted: Beebe Arms,

     6
         unconstitutional, invalid, and unenforceable.
     7
     8                                  PRAYER FOR RELIEF

     9         WHEREFORE, Plaintiffs pray that the Court:
    10
               1.     Declare Penal Code section 27510 unconstitutional on its face and as
    11
    12   applied to Plaintiffs and other similarly situated adults over the age of 18 under the

    13   Second and Fourteenth Amendments to the United States Constitution, and, therefore,
    14
         devoid of any legal force or effect.
    15
    16         2.     Temporarily and permanently enjoin Defendants Attorney General Rob

    17   Bonta and the other named Defendants, and their officers, agents, employees, and
    18
         attorneys, and those persons in active concert or participation with them, and those duly
    19
    20   sworn state peace officers and federal law enforcement officers who gain knowledge
    21   of the permanent injunction, or know of its existence, from enforcing Penal Code
    22
         section 27510 against Plaintiffs and others similarly situated in its entirety.
    23
    24         3.     Award remedies available under 42 U.S.C. § 1983 and all reasonable
    25   attorneys’ fees, costs, and expenses under 42 U.S.C. § 1988, or any other applicable
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         law. Grant such other and further relief as the Court may deem proper.
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                                                THIRD AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF


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     1   February 2, 2023       John W. Dillon                                              Deleted: !

     2                          Dillon Law Group APC
                                Attorney for Plaintiffs
     3
     4                         By:        /s/ John W. Dillon
                                          John W. Dillon
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                            THIRD AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF


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